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                             UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
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11    EPIC GAMES, INC.,                            Case No. 4:20-cv-05640-YGR-TSH

12                   Plaintiffs and Counter-
                     Defendants,                   [PROPOSED] ORDER RE: APPLE
13                                                 INC.’S MOTION TO STRIKE CERTAIN
            v.                                     HEARING TESTIMONY
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15    APPLE, INC.,

16                   Defendant and Counter-        The Honorable Yvonne Gonzalez Rogers
                     Plaintiff.                    Courtroom 1, 4th Floor
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     [PROPOSED] ORDER RE: APPLE INC.’S
     MOTION TO STRIKE CERTAIN HEARING
     TESTIMONY                                                 CASE NO. 4:20-cv-05640-YGR-TSH
     Case 4:20-cv-05640-YGR         Document 1328-7        Filed 03/07/25     Page 2 of 2



 1           Apple Inc. (“Apple”) has filed a Motion to Strike Certain Hearing Testimony (the “Motion”).
 2    In support, Apple filed the accompanying declaration of Mark A. Perry, attaching Exhibits A – E
 3
      thereto.
 4
             Having considered the Motion, all associated declarations, exhibits, and any argument of
 5
      counsel, and for good cause appearing:
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 7           IT IS HEREBY ORDERED that Apple’s request, consistent with the designations in the

 8    Motion to Strike Certain Hearing Testimony, is GRANTED.

 9    Accordingly, the February 24, 2025 hearing transcript shall be revised to strike certain testimony
10
      identified in Exhibit A.
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12    IT IS SO ORDERED.

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       Dated: March 7, 2025
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17                                                     _______________________________
                                                       The Honorable Yvonne Gonzalez Rogers
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                                                       United States District Court Judge
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     [PROPOSED] ORDER RE: APPLE INC.’S
     MOTION TO STRIKE CERTAIN HEARING
     TESTIMONY                                         2                 CASE NO. 4:20-cv-05640-YGR-TSH
